Case 1:05-cr-10009-.]DT Document 37 Filed 06/10/05 Page 1 of 3 Page|D 32

  

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UNITED STATES OF AMERICA

VS. NO. l:OB-lOOOQ"Ol-T

CHAD MICHAEL HEARN

ORDER ON JURY VERDICT

This cause came on to be tried on June 6 and 7, 2005,
Assistant U. S. Attorney, Angela R. Scott, representing the
government, and the defendant appeared_in person and with counselr
Richard Lowe Finney, III, who was retained.

Upon statement of counsel that they were ready for trial on
the not guilty plea heretofore entered by the defendant, a jury
was called, qualified, tried, accepted and sworn to well and truly
try the issues herein joined.and.a true verdict render according to
the law and evidence.

After listening to all of the testimony, arguments of counsel
and charge of the court, the alternate juror was discharged and
the jury retired to the jury room to begin its deliberation. .After
due deliberation, the jury returned into open Court on June 7,

2005, and announced its verdict of GUILTY as charged in

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Case 1:05-cr-10009-.]DT Document 37 Filed 06/10/05 Page 2 of 3 Page|D 33

Counts l and 2 of the Indictment. Jurors polled individually,
thanked for services and discharged.

This case is set for sentencing on Tuesday. August 9, 2005
at 8:30 a.m.

The defendant is allowed to remain on his present bond until
sentencing.

IT IS SO ORDERED

UNQVMAQY»M

D. TODD
ED STATES DISTRICT JUDGE

DATE: , FBM/I~L MS/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 1:05-CR-10009 Was distributed by faX, mail, or direct printing on
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Angela R. Scott

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P.O. BOX 2825

Jackson7 TN 38302

Richard L. Finney

HARDEE MARTIN DAUSTER & DONAHOE
213 E. lafayette

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

